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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

RODNEY JONES, et al.                                                                       PLAINTIFF

v.                                                                          No. 3:20-CV-308-NBB-RP

THE RAYMOND CORPORATION                                                                  DEFENDANT


                                                ORDER

        Before the court is Plaintiffs’ motion to exclude expert testimony of Robert Kerila [129].

Plaintiffs argue Kerila should be precluded from offering expert testimony at trial because he was not

designated as an expert witness by Defendant, The Raymond Corporation. Defendant has not

responded to the motion and the time allotted for it to do so has expired. “If a party fails to respond to

any motion, other than a dispositive motion, within the time allotted, the court may grant the motion as

unopposed.” L.U.CIV.R. 7(b)(3)(E). The court finds the motion should be and is hereby GRANTED

as unopposed.

        SO ORDERED, this the 11th day of April, 2022.
                                                /s/ Roy Percy
                                                UNITED STATES MAGISTRATE JUDGE
